Case 2:23-cv-00923-DAK-JCB Document 6 Filed 12/22/23 PageID.2135 Page 1 of 4




______________________________________________________________________________

                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


BLUERIBBON COALITION INC. et al,

                       Plaintiffs,
                                                              ORDER RE: PROCEDURES FOR
vs.                                                           EMERGENCY MOTION

BUREAU OF LAND MANAGEMENT et                                  Civil Case No. 2:23CV923-DAK
al,
                                                              Judge Dale A. Kimball
                       Defendants.




       On December 22, 2023, Plaintiffs filed a Motion for Relief Under 5 U.S.C. § 705, or,

Alternatively, for a Preliminary Injunction. In order to facilitate a prompt resolution of the

motion and encourage communication between the court and parties, the court instructs counsel

as to its procedures for emergency motions as follows:

A. Ex Parte Temporary Restraining Order

       The court will rarely entertain requests for an ex parte order. In the rare instances in

which such procedures are justified, counsel must closely adhere to all of the requirements of

Federal Rule of Civil Procedure 65(b) and call chambers for further procedures.

B. Notice to Defendant

       In all other circumstances, counsel must serve the motion upon Defendant(s). The court

will not schedule a hearing on the motion until Plaintiff files a proof of service of the motion on

Defendant(s).
Case 2:23-cv-00923-DAK-JCB Document 6 Filed 12/22/23 PageID.2136 Page 2 of 4




C. Hearing on Motion

       (1) Expedited

       If Plaintiff desires that the briefing and/or hearing on the motion be expedited, Plaintiff

must file a Motion to Expedite Briefing and/or Hearing within one day of the date of this Order,

informing the court of the reasons why the regular briefing deadlines should be shortened and

identifying any date by which the motion must be decided. The motion to expedite must also

contain: (1) a proposed expedited briefing schedule for the motion; (2) an explanation of the type

of hearing that is necessary on the motion (e.g., evidentiary or legal arguments); (3) an estimate

of the amount of time necessary for the hearing; and (4) a statement as to whether Plaintiff’s

counsel has been in contact with counsel for Defendant(s) and/or whether counsel knows if

Defendant has counsel.

       The court will not schedule an expedited hearing until the party has complied with these

conditions. Counsel do not need to provide the court with a proposed order on the Motion to

Expedite. The court will enter its own Order. At the time the court enters an Order on the

Motion to Expedite, if there has been no Notice of Appearance filed by counsel on behalf of

Defendant(s), Plaintiff must serve the courts Order on Defendant(s) within 24 hours. To the

extent that counsel for a Defendant wishes to oppose a motion to expedite, they should be aware

that the court will issue a ruling as soon as practicable given the request for expedited

consideration and the opposing party’s regular time for opposing a motion is not applicable.

Counsel for an opposing party should inform the court of their opposition as soon as possible.

       (2) Regular Timing

                                                  2
Case 2:23-cv-00923-DAK-JCB Document 6 Filed 12/22/23 PageID.2137 Page 3 of 4




       If counsel does not desire an expedited hearing, DUCivR 7-1 provides that motions filed

pursuant to Rule 65 of the Federal Rules of Civil Procedure must be opposed within 14 days

after service of the motion or within such time as allowed by the court. A reply memorandum is

discretionary and may be filed within 14 days of service of the memorandum opposing the

motion. If the court does not receive a Motion to Expedite, it will assume that the deadlines in

DUCivR 7-1 apply. Within one day of the filing of the reply memorandum, the parties shall

inform the court whether the hearing will be an evidentiary hearing with witnesses or only legal

arguments, the number of witnesses the party intends to call, and the length of time the party

believes is necessary for the hearing.

       (3) Witness Testimony

       In general, the court believes that the most efficient procedure with respect to witness

testimony in support of a motion for preliminary injunction is to have direct witness testimony

submitted in a declaration in connection with the briefing of the motion. If the opposing party

wishes to cross-examine a witness, the witness should be present and available to testify at the

hearing. The court understands, however, that every motion for preliminary injunction is unique.

The parties should communicate regarding the most beneficial and efficient approach for witness

testimony in their given case.

D. Proposed Injunction or Restraining Order

       Plaintiff shall file a proposed Preliminary Injunction for the court that complies with Rule

65(d) of the Federal Rules of Civil Procedure and states the reasons for issuance of the order, its

specific terms, a description of the act or acts restrained or required, and the persons bound by

the order.

                                                 3
Case 2:23-cv-00923-DAK-JCB Document 6 Filed 12/22/23 PageID.2138 Page 4 of 4




      DATED this 22nd day of December 2023.

                                       BY THE COURT:




                                       DALE A. KIMBALL
                                       United States District Judge




                                          4
